        Case:
       Case   22-16810, 10/16/2023,
            3:17-cv-06011-WHA       ID: 12810290,
                                 Document         DktEntry:
                                            441 Filed       62, Page
                                                      10/16/23   Page11ofof22




                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         OCT 16 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
CITY OF OAKLAND, a Municipal                   No.    22-16810
Corporation; PEOPLE OF THE STATE OF
CALIFORNIA, by and through the City            D.C. No. 3:17-cv-06011-WHA
Attorney for the City of Oakland               Northern District of California,
                                               San Francisco
                Plaintiffs-Appellees,
                                               ORDER
 v.

BP PLC, a public limited company of
England and Wales; et al.,

                Defendants-Appellants.


CITY AND COUNTY OF SAN                         No.    22-16812
FRANCISCO, a Municipal Corporation;
PEOPLE OF THE STATE OF
CALIFORNIA, acting by and through the          D.C. No. 3:17-cv-06012-WHA
San Francisco City Attorney,

                Plaintiffs-Appellees,

 v.

BP PLC, a public limited company of
England and Wales; et al.,

                Defendants-Appellants.

      The Court is of the unanimous opinion that the facts and legal arguments are

adequately presented in the briefs and record, and the decisional process would not

be significantly aided by oral argument. Therefore, this matter is ordered
        Case:
       Case   22-16810, 10/16/2023,
            3:17-cv-06011-WHA       ID: 12810290,
                                 Document         DktEntry:
                                            441 Filed       62, Page
                                                      10/16/23   Page22ofof22




submitted on the briefs and record without oral argument on November 13, 2023,

in San Francisco, California. Fed. R. App. P. 34(a)(2).



                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT




                                         2
